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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                         Case No. 22-mj-832 (ECW)

UNITED STATES OF AMERICA,                  )
                                           )
                  Plaintiff,               )      ORDER OF DETENTION
                                           )
            v.                             )
                                           )
RAPHAEL RAYMOND NUNN,                      )
                                           )
                  Defendant.               )



      This matter came before the Court on October 11, 2022, for a preliminary

hearing and a hearing on the government’s Motion for Detention, pursuant to 18

U.S.C. § 3142(f)(1). The Complaint, filed under seal on October 3, 2022, charges

Mr. Nunn with Carjacking in violation of 18 U.S.C. § 2119. At the hearing, Mr.

Nunn was present and represented by Charlie Clippert, Esq. The government was

represented by Assistant United States Attorney Sarah Hudleston.

      Before the hearing, pre-trial services interviewed Mr. Nunn and issued a

report recommending detention, finding that Mr. Nunn presented a risk of non-

appearance and a danger to the community.

      At the hearing, Mr. Nunn, through counsel, exercised his right to a hearing

on the matter of probable cause but waived his right to a hearing on detention,
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subject to a motion to reopen if circumstances change. The government called FBI

Special Agent Monica Evans as a witness and offered Government Exhibits 1 and

2, which were admitted for purposes of the hearing.

              FINDINGS OF FACT AND CONCLUSIONS OF LAW

      1.     The Court finds there is probable cause to believe that Mr. Nunn has

committed the offense of Carjacking in violation of 18 U.S.C. § 2119, and Mr. Nunn

is bound over to District Court pending charges by indictment. Specifically, the

evidence supplied probable cause that:

      On or about September 13, 2022, Mr. Nunn used what was or appeared to

be a firearm to threaten and intimidate victim S.B.E. to force her into her car and

to drive as he directed while he was in the backseat. After forcing S.B.E. to

withdraw approximately $1500 from her debit and credit cards at a drive-through

ATM, and taking $30 from her purse, Mr. Nunn directed S.B.E. to drive to

Matthews Park in South Minneapolis. He told her to get out of the car and he drove

the car to the other side of the park and left it there for her to retrieve once he was

gone. Investigators gathered surveillance videos from local businesses that

collectively showed Mr. Nunn getting out of the victim’s car and walking to Cedar

Food and Grill at 2600 Cedar Avenue South. While in the Cedar Food and Grill,

video shows that he had removed the mask and hat he was wearing when he got

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out of the victim’s car and his face was fully visible. Multiple people familiar with

Mr. Nunn identified him in that security video.

      The Court also heard testimony that S.B.E.’s car, a Lexus, was manufactured

outside the State and District of Minnesota; there is thus probable cause to believe

that the car was transported, shipped, or received in interstate or foreign

commerce.

      2.     Mr. Nunn made a knowing and voluntary waiver on the issue of

detention. Based on that waiver, the Court finds that no condition or combination

of conditions will reasonably assure the appearance of Mr. Nunn and the safety of

the community.

      3.     As set forth in 18 U.S.C. § 3142(f)(2)(B), Mr. Nunn may move to reopen

the hearing if the Court “finds that information exists that was not known to [him]

at the time of the hearing and that has a material bearing on the issue whether

there are conditions of release that will reasonably assure the appearance of [Mr.

Nunn] as required and the safety of any other person and the community.”

      Accordingly, for the foregoing reasons,

      IT IS HEREBY ORDERED that:

      1.     Pursuant to Rule 5.1(e) of the Federal Rules of Criminal Procedure,

Mr. Nunn is required to appear for further proceedings;
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      2.     Pursuant to 18 U.S.C. § 3142(e), the government’s Motion for

Detention of Mr. Nunn without bond is GRANTED;

      3.     Mr. Nunn is committed to the custody of the United States Marshals

for confinement in a correctional facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal;

      4.     Mr. Nunn shall be afforded reasonable opportunity to consult

privately with his lawyers; and

      5.     Upon order of the Court or request by the United States Attorney, the

person in charge of the correctional facility in which Mr. Nunn is confined shall

deliver him to the United States Marshal for the purpose of appearance in

connection with all court proceedings.


Dated: October 12, 2022

                                      s/Becky R. Thorson
                                      THE HONORABLE BECKY R. THORSON
                                      United States Magistrate Judge




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